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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

 

UNITED STATES OF AMERICA

-vs- Case No. 2:04cr20398-D

JAMES LONG

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT 'I`O
BAIL REFORM ACT

,,L,IM@&;
Upon motion of the Government, it is ORDERED that a detentio heajn`ng is set for
WEDNESDAY, JULY 27, 2005 at 2:30 P.M. before United States Magistrate Judge Diane K.
Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167
North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the

United States Marshal and produced for the hearing

Date: July 22, 2005 '
A¢]¢ QML /€ Z@/"Y/”

DIANE K. VESCOVO
UNITED STATES MAGISTRATE IUDGE

 

 

‘If not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(t)(2).

A hearing is required whenever the conditions set forth in l 8 U.S.C. § 3 l42(f`) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial oft'lcer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or thre en, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

 

   

UNITED sATE DSTIIC COUR - WETERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:04-CR-20398 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listedl

 

 

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Honorable Bernice Donald
US DISTRICT COURT

